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                         EXHIBIT
                         EXHIBIT E
                                 E
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From: Ashley Epperson <aepperson@erskinecharters.org>
Sent: Thursday, November 21, 2024 11:08 AM
To: Kenneth Coles <kcoles@meversschoolofexcellence.org>; Serra Williams
<serra.williams@meversschoolofexcellence.org>
Cc: Katie Graybill <kgraybill@erskinecharters.org>
Subject: Mevers Marketing Proposal

Security WARNING
This is an external email. Do not click links or open attachments unless you recognize the sender and
know that the content is safe.


Good morning!
I hope you are both having a wonderful week. Thank you for the opportunity to provide this
proposal to you to add some additional resources to Mevers’ marketing efforts.

As requested, attached you will find a presentation that outlines our recommendations for
Mevers based on our discussion with your team and the capabilities our team has in-house for
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services that we have provided to other schools in the past.

Please let me know what feedback your team has for this proposal. We are looking forward to
working with the MSE team on this project!

Thank you,


                                          Ashley Epperson
                                          Chief of Communications
                                          Charter Institute at Erskine
                                          (803) 995-0527
                                          aepperson@erskinecharters.org
                                          www.erskinecharters.org
                                          [erskinecharters.org]
                                                    [facebook.com]
                                          [instagram.com]        [twitter.com]
                          [youtu.be]             [youtube.com]
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MMARKETING
  ARKETING
PBh
  ROPOSAL
                                                                                                          4
Prepared
 REPARED for
         FOR Mevers
             MEVERS School
                    SCHOOL of
                           OF Excellence
                              EXCELLENCE
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       THE GOAL                                                                               THE STRATEGY
 Engage in additional                                                   1. Updated Video/Photo
 marketing efforts to
close enrollment gaps                                                          Material
 at MSE and create a                                                    2. Website Audit
strong foundation for
   future marketing                                                     3. Digital Ad Strategy
        efforts.
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         TOTAL                                                                   IN NEED OF
(REG v + REG C+ I2R)                                                             # STUDENTS
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STRATEGY #1


Update Media
Material
The Charter Institute at Erskine’s Media
Production team will put together a creative
brief and plan to capture promotional and
evergreen content over 2-3 days at the
school that can be used for the website,
social media, and advertisements.



This will be provided at no cost
          to the school.
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 STRATEGY #2


 website audit
The Charter Institute at Erskine’s
Communications department will evaluate MSE’s
website for efficiency, clarity, click journeys, etc.,
and provide recommendations for any edits or
changes.

The Department will also work with Ms. Williams
to evaluate the enrollment journey for MSE
prospective parents and make any necessary
recommendations or changes.


 This will be provided at no cost
           to the school.
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 STRATEGY #3


 Digital marketing
The Charter Institute at Erskine’s
Communications department will collaborate
with Ms. Williams to create a digital
marketing strategy that incorporates 1)
social media ads, 2) geofencing ads, and 3)
Google Search ads.




    This will be provided at no
   additional cost to the school.
  The school will be responsible
  for the ad spend but will have
      full budgeting controls.
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                                                    advertising goals
                                                       01. Social Media Ads
                                                       Use photo and video content captured to create a range of
                                                       Meta ads with a targeted audience to direct parents to
                                                       enrollment information.
                                                       Recommended Monthly Budget: $1,000


                                                       02. Geofencing Ads
                                                       use Groundtruth platform to geofence major areas of interest
                                                       in Goose Creek including events, certain ZIP codes, etc.
                                                       Recommended Monthly Budget: $1,000


                                                       03. Google Search Ads
                                                       Identify keywords and searches to boost MSE’s appearance in
                                                       search rankings.

                                                       Recommended Monthly Budget: $750-$1,000



                                                      After one month of campaigns, we will evaluate
                                                         the ads performance and adjust creatives,
                                                                 budgets, etc. as necessary.
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OTHER STRATEGIES


Phase 2
RECOMMENDATIONS
1. Online Review Strategy
    a. Create a campaign to boost
       MSE’s ratings on platforms
       like Google Reviews,
       GreatSchools, etc.
2. Paid Print Ad Placements
    a. Explore print ad options like
       newspapers, local
       magazines, etc.
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          THANK YOU FOR ALLOWING US
          TO PREPARE THIS PROPOSAL!



Questions, concerns, or feedback can be shared with Ashley Epperson.

                  aepperson@erskinecharters.org
                         (803) 995-0527
